
In re Robert Hamilton applying for writ of certiorari, prohibition, mandamus and review. Parish of Jefferson.
Writ granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Alvin Rudy Eason, Judge of the Twenty-Fourth Judicial District, Court for the Parish of Jefferson, to transmit to the Supreme Court of Louisiana, on or before the 9th day of February, 1979, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on a date to be set by this Court, why the relief prayed for in the petition of the relator should not be granted.
